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                  Exhibit A
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                               IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEVADA


         NOTICE OF CERTIFICATION OF CLASS OF UFC FIGHTERS
        If you competed in one or more live professional UFC-promoted MMA bouts
          taking place or broadcast in the United States from December 16, 2010 to
        June 30, 2017 (the “Class Period”), you could be affected by the Court’s Class
             Certification Decision and Order. Please read this notice carefully.
          A federal court directed this Notice. This is not junk mail, an advertisement, or a solicitation
                                                  from a lawyer.
   On August 9, 2023, the Honorable Richard F. Boulware, II of the United States District Court for the District
    of Nevada, entered an order in a class action lawsuit called Cung Le, et al. v. Zuffa, LLC d/b/a Ultimate
    Fighting Championship and UFC, Case No. 2:15-cv-01045-RFB-BNW (the “Action”), certifying the
    following class (the “Bout Class”): “All persons who competed in one or more live professional UFC-
    promoted MMA bouts taking place or broadcast in the United States from December 16, 2010 to June 30,
    2017. The Bout Class excludes all persons who are not residents or citizens of the United States unless the
    UFC paid such persons for competing in a bout fought in the United States.”
   The Action was brought by six professional UFC fighters, including Cung Le, Nathan Quarry, Jon Fitch,
    Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury (“Plaintiffs”), on behalf of themselves and a class
    of similarly situated professional UFC Fighters. The Action alleges that Defendant Zuffa LLC, d/b/a Ultimate
    Fighting Championship and UFC (the “UFC” or “Defendant”) used anticompetitive conduct to establish and
    maintain its dominance in the market for Elite Professional MMA services. The alleged conduct included,
    among other things, (a) entering exclusive contracts with UFC fighters that effectively blocked the vast
    majority from fighting for rival MMA promotions, and (b) acquiring rival promotion companies and locking
    up their MMA fighters into exclusive contracts, and (c) coercing fighters into long-term exclusivity with the
    UFC (together, the “Scheme”). The Action further alleges that the Scheme enabled the UFC to injure members
    of the Bout Class by artificially suppressing their bout pay. Plaintiffs seek to recover from Defendant in this
    Action money damages reflecting the amount Plaintiffs claim that members of the Bout Class were underpaid
    due to the alleged Scheme. Plaintiffs also seek injunctive relief to stop Defendant from continuing to engage
    in the alleged anticompetitive conduct.
   Defendant denies Plaintiffs’ allegations and any wrongdoing. Defendant asserts that through its efforts to
    grow MMA and the UFC, Defendant has consistently increased the number of events that it promotes and the
    compensation paid to fighters who participate in its MMA bouts. Defendant contends that Plaintiffs’ claims
    lack merit and that its conduct was pro-competitive, not anticompetitive: (a) Defendant’s acquisitions of other
    MMA promotion companies helped grow the MMA industry by efficiently allocating resources and did not
    result in the improper foreclosure of competitors, as evidenced by new market entrants and the continued
    growth of rival MMA promotion companies; (b) Defendant’s exclusive contracts with UFC fighters did not
    foreclose a substantial share of the market for MMA fighter services and were, in fact, pro-competitive
    because they were supported by legitimate business justifications; and (c) Defendant did not “coerce” fighters
    to sign long-term exclusive contracts with the UFC, but rather hired the best fighters—who want to fight in
    the UFC—to help its business grow and re-signed those fighters to contracts of greater or equal value to those
    offered by other MMA promotions, none of which is anticompetitive according to Defendant.
   The Court has not decided which side is correct. The Court has scheduled a jury trial to begin on April 8,
    2024.

                Questions? Call 1-866-955-5564 Toll-Free or Visit www.UFCFighterClassAction.com
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   You are a member of the Bout Class certified by the Court if you competed in one or more live professional
    UFC-promoted MMA bouts taking place or broadcast in the United States from December 16, 2010 to June
    30, 2017. The Bout Class excludes all persons who are not residents or citizens of the United States unless
    the UFC paid you for competing in a bout fought in the United States during the Class Period.
   Please read this Notice carefully. Your legal rights will be affected whether you act or do not act. You now
    have to make a choice. This Notice describes the portion of the Action that is continuing and how you can
    continue in that Action or exclude yourself from that Action. Additional information about this Action can be
    found at www.UFCFighterClassAction.com.
   You must take action to exclude yourself from the Bout Class if you do not wish to participate in the Action
    against the Defendant. If you would like to remain in the Bout Class, you need not do anything at this time.
   The Court has approved the following firms as counsel for the Bout Class:
     Eric L. Cramer                   Benjamin Brown                        Joseph Saveri
     Michael Dell’Angelo              Richard Koffman                       JOSEPH SAVERI LAW
     BERGER MONTAGUE PC               Daniel H. Silverman                   FIRM, LLP
     1818 Market St., Suite 3600      COHEN MILSTEIN SELLERS &              601 California St., Suite 1000
     Philadelphia, PA 19103           TOLL, PLLC                            San Francisco, CA 94108
                                      1100 New York Ave., N.W.
                                      Suite 500, East Tower
                                      Washington, D.C. 20005




                Questions? Call 1-866-955-5564 Toll-Free or Visit www.UFCFighterClassAction.com
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                        SUMMARY OF YOUR LEGAL RIGHTS AND OPTIONS
If you are a member of the Bout Class, your legal rights and options are described in this section. You may:
 DO NOTHING           Remain in the Bout Class. You have the right to continue participating in the Action as a
                      Bout Class Member. You do not need to take additional action to remain in the Class or
                      be a part of the Action against the Defendant.
                      If you remain a Bout Class member, you will retain the possibility of receiving money or
                      other benefits from the Defendant that may come from trial or settlement in the Action.
                      By remaining in the Bout Class, you will be bound by the outcome of the Action, and you
                      will give up your right to file your own lawsuit covering the same or similar claims as in
                      the Action. There is no money available now from the Defendant and there is no guarantee
                      that there will be any in the future. The outcome of the Action against the Defendant is
                      not yet known.
                      You may receive other notices from the Court when there are other important
                      developments that may require you to make a decision or take action. However, if you
                      stay in the Bout Class at this time, you may not have another opportunity to request
                      exclusion (or opt-out) of the Action, and you will be unable to pursue claims against the
                      Defendant that are being litigated in this Action separate from the Bout Class.
 EXCLUDE              Opting out of the Bout Class is the only way you can file or continue your own lawsuit
 YOURSELF FROM        concerning the legal claims or issues in this Action.
 THE BOUT CLASS
                      If you exclude yourself from the Action, you will receive no payment from the Defendant
                      arising out of the Action, even if any monies are collected in the Action as the result of a
                      trial or settlement.
                      You will remain in the Bout Class unless you submit a written request to exclude yourself
                      as described in Question 12, below. You must submit a timely written request by January
                      22, 2024 to exclude yourself from the Bout Class, if you wish to do so.


This chart provides summary information about the Action. The remainder of this Notice is designed to
provide more information to help you evaluate your options and answer any questions that you may have.
This Notice explains your legal rights and options—and the deadlines to exercise them.
      This is not a lawsuit against you.
      This notice summarizes your rights to participate or exclude yourself from the Action against the
       Defendant.
      The outcome of the Action against the Defendant is not yet known. If you opt to remain in the Bout Class,
       you will be notified if money or other benefits are obtained from the Defendant through settlement or trial.
      For additional information, visit www.UFCFighterClassAction.com or call toll-free 1- 866-955-5564.
       You may also write to the Class Action Administrator by mail: UFC Fighter Class Action, c/o Class Action
       Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA 19103, or email:
       info@UFCFighterClassAction.com.

 PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE TO INQUIRE
                            ABOUT THIS NOTICE



                Questions? Call 1-866-955-5564 Toll-Free or Visit www.UFCFighterClassAction.com
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                                                              BASIC INFORMATION
1. Why did I receive this Notice?
        You have received this Notice because records show you may have competed in one or more live
professional UFC-promoted MMA bouts taking place or broadcast in the United States from December 16, 2010
to June 30, 2017 (the “Class Period”).
       Bout Class members have the right to know about the Court’s certification of a litigation class (the “Bout
Class”) to pursue class action claims against the Defendant. You also have the right to continue in the Action as
a member of the Bout Class or to exclude yourself from the Bout Class. If you continue as a member of the Bout
Class, which you may do by doing nothing now, your interests in this Action will be represented by Court
appointed Class Counsel and you will be bound by the results in the Action, and be able to benefit from any
judgment or settlement of the Action.

                       Questions? Call 1-866-955-5564 Toll-Free or Visit www.UFCFighterClassAction.com
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        If you wish to exclude yourself from the Bout Class, you must send a written request for exclusion by
January 22, 2024 by following the instructions in Question 12. If you exclude yourself from the Bout Class, you
will not be able to benefit from any settlement or cash award in this Action.

2. What is this lawsuit about?
        The lawsuit alleges that Defendant used an anticompetitive scheme to establish and maintain its market
dominance, which allegedly allowed it to pay its fighters substantially less than it would have paid in a more
competitive market during the Class Period in violation of federal antitrust law. The Defendant denies these claims
and any allegation of wrongdoing, and asserts several defenses, including that there is ample competition in the
market for MMA fighters, that its conduct was pro-competitive, and that UFC continually and substantially
increased fighter pay over the Class Period. The Honorable Richard F. Boulware, II of the United States District
Court for the District of Nevada is overseeing the Action. The Judge has not decided which side is correct.
       To obtain more information about the clams in the Action you can view the complaint and other important
court documents in this case at www.UFCFighterClassAction.com.

3. Why is this a class action, and who is involved?
        In a class action lawsuit, one or more people called “Named Plaintiffs” or “Class Representatives” sue on
behalf of other people who have similar claims. The people with similar claims together are a “Class” and each
is called a “Class Member.” In a class action, the court resolves the issues for all Class Members, except for those
who exclude themselves (or “opt-out”) of the Bout Class.

4. Is there money available?
        No money or benefits are available now because the Court has not decided the merits of the Plaintiffs’
claims or Defendant’s defenses, the jury trial has not yet occurred, and the Parties have not settled the case. There
is no guarantee that money or benefits will be obtained. If money or benefits become available either by way of
settlement or if the Plaintiffs prevail at trial or through legal motions, Bout Class Members may have to take
additional steps, such as submitting a claim form or providing other evidence, in order to determine whether they
are eligible to recover any money or benefits. In that event, you will be notified of whatever additional steps, if
any, you must take. You can learn more details, and stay informed of the progress of the Action, by visiting
www.UFCFighterClassAction.com.

             WHO HAS THE RIGHT TO PARTICIPATE IN THE CLASS ACTION LAWSUIT?
5. Am I a Bout Class Member who is part of the ongoing class action lawsuit against the Defendant?
       Fighters who fought for the UFC are members of the Bout Class if they meet the following definition:
        All persons who competed in one or more live professional UFC-promoted MMA bouts taking place or
broadcast in the United States from December 16, 2010 to June 30, 2017. The Bout Class excludes all persons
who are not residents or citizens of the United States unless the UFC paid such persons for competing in a bout
fought in the United States.
        On August 9, 2023, the Honorable Richard F. Boulware, II of the United District Court for the District of
Nevada entered an order certifying the Bout Class. See ECF No. 839. The Court has not decided either the merits
of the Plaintiffs’ claims or Defendant’s defenses. The Court has scheduled a jury trial in the Action to take place
in April 2024.




                 Questions? Call 1-866-955-5564 Toll-Free or Visit www.UFCFighterClassAction.com
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6. I am still not sure if I am included?
       If you received this Notice, it is because you were listed as a potential Bout Class Member. If you are still
not sure whether you are included, you can contact the lawyers representing the Bout Class (see Question 9) or
the Class Action Administrator (see Question 16).

7. Are there exceptions to being a Bout Class Member?
        Yes. Excluded from the Bout Class are persons who are not residents or citizens of the United States,
unless the UFC paid such persons for competing in a bout fought in the United States during the Class Period.

8. What are my rights as a Bout Class Member?
       You have the right to continue participating in the Action as a Bout Class Member. You do not need to do
anything at this time to remain in the Bout Class or be a part of the Action against the Defendant.
        If you do not exclude yourself from the Bout Class and thus remain a Bout Class Member in the Action
against the Defendant, you will retain the possibility of receiving money or other benefits from the Defendant that
may come from trial or settlement. By remaining in the Bout Class, you will be bound by the outcome of the
Action with the Defendant, whether it is favorable or unfavorable, and you will give up your right to file your
own separate lawsuit with regard to any of the claims asserted or issues decided in this Action. There is no money
available now from the Defendant, and there is no guarantee there will be any in the future. The outcome of the
Action against the Defendant is not yet known. If money or other benefits are obtained from the Defendant, you
will be notified at that time.
        You also have the right to exclude yourself from the Bout Class, in which case you would preserve any
right you may have to bring or continue a lawsuit of your own against the Defendant for the same or similar
claims against the UFC, but you would give up the right to receive any payment that could result from trial or a
potential settlement in this Action against the Defendant.

                           THE LAWYERS REPRESENTING THE BOUT CLASS
9. Who represents the Bout Class in this case?
      The Court appointed the following law firms as Co-Lead Class Counsel (also referred to as “Plaintiffs’
Counsel” or “Class Counsel”) to represent the Bout Class:
     Eric L. Cramer                   Benjamin Brown                          Joseph Saveri
     Michael Dell’Angelo              Richard Koffman                         JOSEPH SAVERI LAW
     BERGER MONTAGUE PC               Daniel H. Silverman                     FIRM, LLP
     1818 Market St., Suite 3600      COHEN MILSTEIN SELLERS &                601 California St., Suite 1000
     Philadelphia, PA 19103           TOLL, PLLC                              San Francisco, CA 94108
                                      1100 New York Ave., N.W.
                                      Suite 500, East Tower
                                      Washington, D.C. 20005

Class Counsel has been prosecuting this Action, i.e., overseeing and performing work to advance the case on
behalf of the Plaintiffs and the Bout Class since before it was filed in December 2014.

10. Should I get my own lawyer?
       You do not need to hire your own lawyer because Class Counsel is working on your behalf. If you want
your own lawyer, you may hire one, but you will be responsible for any payment for that lawyer’s services. For
example, you can ask your lawyer to appear in Court for you if you want someone other than Class Counsel to
                Questions? Call 1-866-955-5564 Toll-Free or Visit www.UFCFighterClassAction.com
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speak for you. You may also appear for yourself without a lawyer.

11. How will the lawyers be paid?
        If there is a settlement or judgment against the Defendant, Class Counsel would file a motion to the Court
requesting attorneys’ fees and reimbursement of costs and expenses. If the Court awards these payments, they
will be paid from any settlements or recoveries. You personally do not have to pay any of Class Counsel’s fees,
costs, or expenses.

  EXCLUDING YOURSELF FROM THE BOUT CLASS IN THE ONGOING CLASS ACTION LAWSUIT
12. How do I opt-out of the Bout Class in the Action against the Defendant?
        If you fall within the Bout Class definition but do not want to be included in the Action against the
Defendant for any reason, including because you want to retain the right to sue the Defendant for the same or
similar claims as in the Action, then you must request exclusion (or opt out) of this Action. The deadline for
requesting exclusion from the Action is January 22, 2024.
       To exclude yourself, you must submit a written request for exclusion that includes the following
information:
      The name of the Lawsuit: Cung Le, et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship and UFC,
       Case No. 2:15-cv-01045-RFB-BNW (D. Nev.).
      Your name and current address;
      Your personal signature; and
      A statement clearly indicating that (a) you are a member of the Bout Class, and (b) you wish to be excluded
       from the Bout Class in the Action.
      Your request for exclusion must be mailed via the U.S. Postal Service to the address below so it is
postmarked no later than January 22, 2024.
       UFC Fighter Class Action
       ATTN: Exclusion Request
       PO Box 58220
       Philadelphia, PA 19102
By electing to be excluded: (1) you will not share in any potential recovery that might be obtained by the Bout
Class as a result of trial, legal motion, or settlement in the Action; (2) you will not be bound by any decision in
the Action that is either favorable to the Bout Class or favorable to the Defendant; and (3) you may present any
claims you have against the Defendant by filing your own lawsuit.
       You cannot exclude yourself (opt out) by telephone or email.

13. If I do not exclude myself, can I sue the Defendant for the same or similar thing later?
        No. If you are a Bout Class Member, unless you exclude yourself from the Bout Class, you give up the
right to sue the Defendant on your own with respect to any of the claims asserted or issues decided in the Action
as more fully described in Question 12 above.

14. If I exclude myself from the Bout Class, can I get money from the Action?
        No. If you exclude yourself from the Bout Class, you will not be eligible to receive a share of any money
recovered from the Defendant in the Action either by trial or settlement. But, by excluding yourself from the Bout
Class, you keep any rights to sue on your own with respect to any of the claims asserted or issues decided in this
Action should you wish to do so.

                Questions? Call 1-866-955-5564 Toll-Free or Visit www.UFCFighterClassAction.com
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                                           IF YOU DO NOTHING
15. What happens if I do nothing at all?
        If you are a Bout Class Member and you do nothing, you will remain a member of the Bout Class and be
represented by Class Counsel. By remaining a member of the Bout Class, you will retain the possibility of
receiving money or other benefits from the Defendant that may come from trial or settlement. You will also be
bound by the outcome of the Action with the Defendant, and you will give up your right to file your own lawsuit
with the same or similar claims as in the Action. There is no money or other benefits available now from the
Defendant and no guarantee there will be any in the future. The outcome of the Action against the Defendant is
not yet known. If money or other benefits are obtained from the Defendant you will be notified.

                                     GETTING MORE INFORMATION
16. How do I get more information?
     For more detailed information about the Action, including being able to determine whether you are a
member of the Bout Class, please refer to the dedicated website: www.UFCFighterClassAction.com.
        If you have additional questions, you may contact the Class Action Administrator by email, phone, or
mail:
        Email:         info@UFCFighterClassAction.com.
        Toll-Free:     1-866-955-5564
        Mail:          UFC Fighter Class Action
                       c/o Administrator, 1650 Arch St, Ste 2210
                       Philadelphia, PA 19103

        Publicly-filed documents can also be obtained by visiting the office of the Clerk of the United States
District Court for the District of Nevada or reviewing the Court’s online docket.


    PLEASE DO NOT WRITE OR CALL THE COURT OR THE CLERK’S OFFICE FOR MORE
                                INFORMATION




                 Questions? Call 1-866-955-5564 Toll-Free or Visit www.UFCFighterClassAction.com
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